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                 IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )           CR 10-00923-03 LEK
                              )
          Plaintiff,          )
                              )
     vs.                      )
                              )
LUCKY DIAMOND MAPUNI, (03),   )
                              )
          Defendant.          )
_____________________________ )


          ORDER DENYING APPEAL TO THE DISTRICT JUDGE OF
             THE MAGISTRATE JUDGE’S ORDER AUTHORIZING
      THE DEFENDANT’S RELEASE ON BOND, FILED APRIL 27, 2011

           The Court has before it Plaintiff the United States of

America’s (“Government”) Appeal to the District Judge of the

Magistrate Judge’s Order Authorizing Defendant’s Release on Bond,

filed on April 27, 2011 (“Appeal”).         [Dkt. no. 31.]       This matter

came on for hearing on May 2, 2011, with Susan Cushman, Assistant

United States Attorney, appearing on behalf of the Government,

and Ashfaq Chowdhury, Deputy Federal Public Defender,

participating telephonically, and Harlan Kimura, Esq., appearing

on behalf of Defendant Lucky Diamond Mapuni (“Defendant”).               After

careful consideration of the Appeal, supporting and opposing

documents, and the arguments of counsel, the Appeal is HEREBY

DENIED and the magistrate judge’s order is AFFIRMED because the

pretrial release conditions address both flight risk and danger

to the community, and for the reasons more fully set forth below.
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                               BACKGROUND

           Defendant was arrested in the Central District of

California on April 21, 2011 on charges arising out of a two-

count Superseding Indictment from the District of Hawai`i.

Defendant is charged with conspiracy to distribute and to posses

with the intent to distribute fifty grams or more of

methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1) and

841(b)(1)(A), and with possession with the intent to distribute

fifty grams or more of methamphetamine.              On April 27, 2011, the

magistrate judge in the Central District of California denied the

Government’s motion to detain, ruling that the presumption as to

flight risk and danger to community had been rebutted, setting

bond at $90,000, and imposing release conditions that included

electronic monitoring, home detention, drug testing, and travel

restrictions.    [Dkt. no. 36-1.]      The Government filed its Appeal,

and this Court stayed the magistrate judge’s ruling pending

resolution of the Appeal.      [Dkt. no. 32.]

           On May 2, 2011, a hearing on the Appeal was held.                 The

Government was permitted to respond in writing to Defendant’s

citation of cases in support of the magistrate judge’s ruling by

May 5, 2011, and Defendant was permitted to reply to this

response by May 9, 2011.      Further, the parties were instructed to

provide information regarding the proposed third-party custodian,

Carey Mapuni.    The Court stated that it would thereafter take the


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matter under advisement and issue its decision.

           On May 2, 2011, Defendant provided a copy of the

pretrial release conditions imposed by the magistrate judge.

[Dkt. no. 36-1.]    The Government’s Supplemental Memorandum in

Support of Defendant’s Detention was filed on May 5, 2011, [dkt.

no. 39,] and Defendant’s Response to Government’s Supplemental

Memorandum in Support of Defendant’s Detention (“Defendant’s

Response”) was filed on May 9, 2011 [dkt. no. 44].

           In the Appeal, the Government argues that the

conspiracy alleged in this case involves the transportation of

approximately thirty-five pounds of methamphetamine and therefore

a rebuttable presumption exists in favor of detention because of

the nature of the offense.      [Appeal at 3.]              Defendant’s alleged

involvement in this scheme is that he “drove a separately charged

courier to the airport where [Defendant] gave the courier a black

knapsack containing clothing.      Once the courier passed through

airport security, an airport employee and the courier exchanged

knapsacks.”   [Id. at 4.]     The courier was subsequently arrested

in Hawai`i and approximately four pounds of methamphetamine were

recovered from the courier’s knapsack.             [Id.]

           The Government argues that the presumption has not been

rebutted in this case because Defendant has a history of failing

to comply with court orders.      His criminal history demonstrates

that: he was arrested for driving with a suspended license in


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2001, 2003, and 2004; he was arrested in 2005 for Driving Under

the Influence, and failed to complete a court-ordered program;

and he has failed to appear for court in the past.                Additionally,

the Government submits that Defendant does not have a permanent

residence, that his girlfriend has been charged in a related

criminal case, and that the pretrial services officer had

recommended detention.      [Id.]

           Defendant opposes the Appeal and argues that the

magistrate judge imposed stringent conditions for his release and

made specific factual findings that his substantial ties to the

community and the willingness of his siblings to act as sureties

sufficiently rebutted the presumption of non-appearance and

dangerousness.    [Def.’s Response at 2.]            Defendant asserts that

these findings were made after he presented undisputed evidence

that he: (1) was a life-long resident of Southern California, and

his parents and siblings all reside in that area; (2) had three

siblings willing to serve as sureties with three bonds in the

total amount of $90,000; (3) had two brothers and a cousin who

attended his detention hearing; (4) had not resided outside of

Southern California for any significant period of time; (5) had

no significant history of international travel and submitted a

declaration that he did not have a passport; (6) has partial

custody of his nine-year old son every week from Monday through

Thursday; (7) was scheduled to start a job in the Central


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District of California; (8) attended high school in the Central

District of California; and (9) had family in Hawai`i.                   [Id. at

2-3 (citation omitted).]

            Additionally, Defendant represented at the hearing on

May 2, 2011 that he has two additional sureties (a cousin and a

family friend) who have offered to sign financial affidavits in

the total amount of $60,000 - in addition to the $90,000

unsecured bond, and that his brother is willing to serve as a

third-party custodian.      [Id. at 3.]

                                 ANALYSIS

            A person detained by order of a magistrate judge may

file a motion for revocation or amendment of the order with the

district judge presiding over his case.              18 U.S.C. § 3145(b).

“The motion shall be determined promptly.”                  Id.   The procedures

for review of the detention order under 18 U.S.C. § 3145(b) are

governed by Federal Rule of Appellate Procedure 9.                  United States

v. Fernandez-Alfonso, 816 F.2d 477, 478 (9th Cir. 1987)

(Brunetti, J., concurring).      “Rule 9(a) requires that the

district court state in writing the reasons for the action taken

when it enters an order refusing or imposing conditions of

release.”   Id. (quoting Fed. R. App. P. 9).

            The district judge reviews the magistrate judge’s

decision de novo, but the “court is not required to start over in

every case, and proceed as if the magistrate’s decision and


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findings did not exist.”      United States v. Koenig, 912 F.2d 1190,

1193 (9th Cir. 1990).     “The standard of review for pretrial

detention orders is one of deference to the [magistrate judge’s]

factual findings, absent a showing that they are clearly

erroneous, coupled with an independent review of the facts, the

findings, and the record to determine whether the order may be

upheld.”   United States v. Gebro, 948 F.2d 1118, 1121 (9th Cir.

1991) (citing United States v. Motamedi, 767 F.2d 1403, 1406 (9th

Cir. 1985)).    The district judge must ultimately make its own de

novo determination of the facts and of the propriety of

detention.    Koenig, 912 F.2d at 1193.

             Pursuant to the Bail Reform Act of 1984, a court may

detain a defendant if the government can establish that no

release conditions “will reasonably assure the appearance of such

person . . . and the safety of any other person and the

community[.]”    18 U.S.C. 3142(f); see also United States v.

Salerno, 481 U.S. 739, 741 (1987); United States v. Walker, 808

F.2d 1309, 1310 (9th Cir. 1987).           In determining this, the court

will consider, inter alia: (1) the nature and the seriousness of

the offense charged; (2) the weight of the evidence against the

defendant; (3) the defendant’s character; (4) the defendant’s

physical and mental conditions; (5) the defendant’s family and

community ties; (6) the defendant’s past conduct; (7) the

defendant’s history relating to drug and alcohol abuse; (8) the


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defendant’s criminal history; and (9) the nature and seriousness

of the danger that defendant’s release would pose to any person

or community.    See United States v. Motamedi, 767 F.2d 1403, 1407

(9th Cir. 1985); 18 U.S.C. § 3142(g).

             In this case, however, given the nature of the offense,

there is a presumption that there is no condition or combination

of conditions that will reasonably assure Defendant’s appearance

as required and the safety of the community.                See 18 U.S.C. §

3142(e)(3).    This presumption is subject to rebuttal by

Defendant.    See id.

             This Court has reviewed the record in this case, the

argument at the hearing, the transcript of the hearing before the

magistrate judge, the pretrial services reports prepared by

pretrial services officers in the Southern District of California

and the District of Hawai`i, and the memoranda and exhibits

submitted by the parties.

             The record shows that Defendant: does not have a felony

criminal history; does not appear to have a substance abuse

history; has long-standing ties to the community; has the support

of close family members; has a family member who will serve as a

third-party custodian; has parents who will provide a residence;

has a child of whom he has custody from Monday through Thursday;

and does not have a passport.      The Court therefore concludes that

Defendant has met his burden of showing that the conditions set


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by the magistrate judge are sufficient to rebut the presumption

of detention, and that these conditions will reasonably assure

his appearance and the safety of the community pursuant to 18

U.S.C. § 3142(e).        Further, no material information supports

reconsideration of the detention order.

                                 CONCLUSION

           On the basis of the foregoing, this Court HEREBY DENIES

the Government’s Appeal to the District Judge of the Magistrate

Judge’s Order Authorizing Defendant’s Release on Bond, filed

April 27, 2011, and AFFIRMS the magistrate judge’s bench ruling

issued on April 27, 2011, and AFFIRMS the release conditions

ordered.

           IT IS SO ORDERED.

           DATED AT HONOLULU, HAWAII, May 17, 2011.




                                     /s/ Leslie E. Kobayashi
                                    Leslie E. Kobayashi
                                    United States District Judge




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